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 4
     Attorney for Defendant
 5   GARY ROBERTS
 6
 7
                           IN THE UNITED STATES DISTRICT COURT
 8
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                             Case No.: 2:17-CR-00064 JAM
11
                                    Plaintiff,             STIPULATION TO CONTINUE FILING
12                                                         AND HEARING DATES ON
            v.
                                                           DEFENDANT’S DISCOVERY
13
     GARY ROBERTS,                                         MOTION; ORDER
14
                                    Defendants.            DATE: August 13, 2018
15                                                         TIME: 2:00 p.m.
                                                           COURT: Hon. Edmund F. Brennan
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17
18                                               STIPULATION
19          Defendant Gary Roberts, by and through undersigned counsel, and Plaintiff United States
20   of America, by and through its counsel of record, hereby stipulate as follows:
21          1. By previous motion, this matter was set for hearing on July 23, 2018. Dkt. #119.
22          2. By this stipulation, the parties now move to continue the discovery hearing to August
23   13, 2018. In addition, they stipulate that the defendant’s supplemental briefing will be due on
24   July 30, 2018, and the government’s response will be due August 6, 2018.
25          3. This continuance will allow the defendant and government to adequately respond to
26   the issues that have been raised by each party.
27          4. The defendant is out of custody. Dkt. #67.
28          5. The case’s next status conference is set for August 21, 2018. Dkt. #114.

                                                       1
     Stip. Continuing Filing and Hearing Dates on Defendant’s Discovery Motion; [Proposed]
     Order
             Case 2:17-cr-00064-JAM Document 132 Filed 07/31/18 Page 2 of 2


 1          IT IS SO STIPULATED
 2
 3   Dated: July 24, 2018                           /s/ ETAN ZAITSU
                                                    ETAN ZAITSU
 4                                                  Attorney for Defendant
 5                                                  GARY ROBERTS

 6
     Dated: July 24, 2018                           McGREGOR W. SCOTT
 7                                                  United States Attorney
 8
                                                    /s/ AMANDA BECK
 9                                                  AMANDA BECK
                                                    Assistant United States Attorney
10
11
12
                                   FINDINGS AND ORDER
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14          IT IS SO FOUND AND ORDERED

15   Dated: July 30, 2018
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                                               2
     Stip. Continuing Filing and Hearing Dates on Defendant’s Discovery Motion; [Proposed]
     Order
